                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                               3:01CR184-MU



UNITED STATES OF AMERICA,       )
                                )
           Plaintiff,           )
                                )
vs.                             )                    ORDER
                                )
KEVIN LAMONT BAILEY,            )
                                )
           Defendant.           )
________________________________)


      THIS MATTER comes before the Court on Defendant’s Motion to Reopen

Petitioner’s Sentence and Modification of Same Pursuant to 18 U.S.C. § 3582(c)(1)(B),

filed August 8, 2005.

      On September 11, 2001, Defendant was indicted for violating 21 U.S.C. §§ 841 and

846. On October 9, 2002, the parties entered into a plea agreement. On October 30,

2002, Defendant entered a guilty plea at his Rule 11 hearing. On August 19, 2003, this

Court sentenced Defendant to 188 months imprisonment. Defendant did not appeal his

conviction or sentence.

      Defendant has filed the present motion seeking to have the Court reopen his

criminal case and resentence him taking into consideration the alleged substantial

assistance he provided to the Government. In support of his request, Defendant asserts

that he had an oral agreement with the Government that he would be sentenced to 5 to 10

years imprisonment and that the Government would file a Rule 35(b) motion. He contends

that his sentence of 188 months violates the agreement he had with the Government.



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       A review of the record does not support Defendant’s self-serving contention. The

plea agreement in Defendant’s case specifically states that “defendant is further aware that

the Court has not yet determined the sentence, that any estimate, from any source,

including defense counsel, of the likely sentence is a prediction rather than a promise, and

that the Court has the final discretion to impose any sentence up to the statutory maximum.

The defendant further understands that no recommendations or agreements by the United

States are binding upon the Court.” (Plea Agr. ¶ 2). The plea agreement also reserves the

right to determine whether any assistance by Defendant is substantial solely to the

Government. (Plea Agr. ¶ 20a). Finally, the plea agreement specifically sets forth that it

is the entire agreement between the parties and that any subsequent modifications must

be in writing and signed by all parties to be binding. (Plea Agr. ¶ 22). Moreover, under

oath at his sentencing hearing Defendant stated that other than the terms of his plea

agreement no one had made him any promises of leniency or a light sentence to induce

him to plead guilty. (Entry and acceptance of Guilty Plea form, # 26). Given the above,

the evidence simply does not support a finding that a binding oral agreement existed

between Defendant and the Government.

       Finally, only the Government may make a Rule 35(b) motion.1 Fed. R. Crim. P.

35(b). A district court may inquire into the Government's motives not to file a Rule 35(b)

motion only in limited circumstances. See United States v. Wallace, 22 F.3d 84, 87 (4th

Cir.1994). A court may review whether the prosecutor's decision was based upon an

unconstitutional motive. Id. In the instant case, Defendant has not made any allegation


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      The Court notes that at sentencing the Government filed a motion for
downward departure which this Court granted.

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that the Government possessed an unconstitutional motive for not filing a Rule 35(b)

motion. Consequently, it is beyond this Court’s authority to inquire into the Government’s

decision not to file a Rule 35(b) motion.

       IT IS, THEREFORE, ORDERED that Defendant’s Motion to Reopen Petitioner’s

Sentence and Modification of Same Pursuant to 18 U.S.C. § 3582(c)(1)(B) is DENIED.



                                            Signed: February 13, 2006




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